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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
YURI BUSIASHVILI, an individual, CASE NO.:
Plaintiff, COMPLAINT FOR
1) DECLARATORY RELIEF;
VS.
2) VIOLATIONS OF THE FAIR
REDIT REPORTING ACT.
MIGUEL CARDONA in his official
capacity as Secretary of the U.S. AND
Department of Education; U.S.
DEPARTMENT OF EDUCATION; and 4) VIOLATIONS OF THE
DOES 1 through 10, inclusive, ONSUMER CREDIT
REPORTING AGENCIES
ACT
Defendants.
DEMAND FOR JURY TRIAL

 

I. JURISDICTION AND VENUE.
1. Jurisdiction of this Court arises under 15 U.S.C. §1681p; declaratory relief
is available under 28 U.S.C. section 2201 - 2202. Venue in this District is proper in

that Plaintiff's claim arose in this District.

Il. THE PARTIES.
2. The plaintiff, YURI BUSIASHVILI (hereinafter “Plaintiff”), is a natural

person who, at all times relevant herein, was a resident of the State of California,

 

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county of Los Angeles.

3. Defendant MIGUEL CARDONA is the Secretary (hereinafter, “the
Secretary”) of the United States Department of Education. The Secretary oversees
all operations of the Department and the administration of the federal student loan
programs. The Secretary is sued in his official capacity.

4. Defendant UNITED STATES DEPARTMENT OF EDUCATION
(hereinafter, “ED”) is an agency of the United States within the meaning of the
APA, 5 U.S.C. § 701(b)(1). It is responsible for overseeing and implementing rules
for federal student aid programs. Upon information and belief, ED is the holder
of Plaintiff's defaulted federal student loan, described more fully below.

5. The true names and capacities, whether individual, corporate, associate or
otherwise, of the defendants sued herein as DOES 1 through 10, inclusive, are
unknown to Plaintiff, who therefore sues such defendants by such fictitious names.
Plaintiff will amend this complaint to show the true names and capacities of such
defendants when they have been ascertained. Plaintiff is informed and believes that
each of the defendants designated herein as a DOE was in some manner responsible
for the occurrences and injuries alleged herein.

6. At all times mentioned herein, each of the defendants was the agent and
employee of the other named defendants, and in doing the things alleged were acting
within the course and scope of such agency and employment, and in doing the acts
herein alleged were acting with the consent, permission and authorization of the
remaining defendants. All actions of each of the defendants were ratified and

approved by the other named defendants.

Il. FACTUAL ALLEGATIONS.
7. Plaintiff took out one or more federal student loans in order to assist one of
his children in paying undergraduate tuition, and in 2012, consolidated the loans

with a Federal Direct Consolidation Loan (hereinafter “the Loan”).

 

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8. Plaintiff paid dutifully and consistently on the loan. However, after
servicing of the loan was transferred from ED to another entity, Plaintiff noticed
idiosyncrasies in how his payments were being allocated, and various inconsistencies
in his statements. Thus began nearly a decade of tireless but futile attempts to
obtain clear, consistent information regarding the Loan from a series of different
servicing entities.

9. For example, in 2019, Plaintiff attempted to obtain a payment history and a
copy of the Loan documents from Sallie Mae, the servicer at the time. Sallie Mae
sent Plaintiff cover letters referring to enclosures which were entirely omitted. In
correspondence dated February 5, 2020, Plaintiff informed Sallie Mae, “I have
reviewed your response to my prior correspondence dated December 23, 2019, and
your similar correspondence dated December 19, 2019. [{]] In both, you assert, ‘a
copy of your transaction history with ACS is also enclosed with this letter.’
However, in neither instance was the ACS transaction history provided. [{] In
addition, the documents you did include were incomplete. The pagination shows
that the complete Application and Promissory Note consists of 10 pages; your copy
omitted pages 1 - 2, as well as 8-10. Please provide a complete copy of that
Application and Promissory Note.”

10. While Sallie Mae renamed itself Navient, the same negligence and
inattention characterized its communication practices.

11. Navient never provided the first two pages of the purported Note, or any
pages from Plaintiff’s original application (including, for instance, Truth in Lending
Disclosures). By failing to provide complete documentation, the servicers made it
effectively impossible for Plaintiff to conduct a comprehensive review of their
computations.

12. While Navient assured Plaintiff by correspondence dated May 6, 2020,
“We will respond as soon as our research is complete,” but “[t]he inquiry requires

additional research and we are working diligently to provide a timely response,”

 

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before a response was provided, Navient transferred the Loan back to ED.

13. ED also failed to provide the first two pages of the Loan documents.
When Plaintiff brought this to ED’s attention, in correspondence dated August 19,
2020, ED provided the first two pages if an entirely different document — bearing
internal page numbers of 1 and 2 of 18, total, then attached pages 3 - 10 of the other
document which had already been provided, the actual Loan. The document from
which the first two pages had been taken was dated 2010; the Loan was plainly dated
2012. In short, the author of ED’s August 19, 2020, correspondence — attributed to
ED’s “Default Resolution Group [{] Servicing Center — had manufactured a hybrid
document in order to deflect Plaintiffs point about the missing first two pages.

14. ED’s August, 2020, letter, also asserted that “No payments were credited”
to Plaintiffs Loan while it was with Navient / Sallie Mae, even though Navient had
provided Plaintiff with a partial payment history which showed dozens of payments
by Plaintiff.

15. Within the past three years, ED began reporting Plaintiff as delinquent to
various consumer reporting agencies, including but not limited to Trans Union. ED
failed to note in its information to the reporting agencies that Plaintiff had disputed
the debt, though he had done so repeatedly and consistently. ED also falsely
reported — for instance, to Trans Union — that although the account was opened in
February, 2012, ED had received “$0" in payments from Plaintiff, though in fact
Plaintiff had paid tens of thousands of dollars towards the Loan.

16. In or around February, 2021, Plaintiff sent a letter to Trans Union
disputing the credit reporting by ED. In response, on March 16, 2021, Trans Union
informed Plaintiff that it had reached out to ED in the conduct of an investigation,
but that ED had verified the information as accurate.

17. ED continues to report inaccurate information to one or more of the
consumer reporting agencies, continues to attempt to collect from Plaintiff an

amount of money that is not owed, and continues to refuse Plaintiff complete and

 

 

 

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accurate information concerning the Loan.

FIRST CLAIM FOR RELIEF
(For Declaratory Relief Pursuant to 28 U.S.C. §§2201-2202 Act Against ED
and DOES 1 through 5, inclusive)

18. Plaintiff repeats and reincorporates by reference the paragraphs 1 through
17 above.

19. Plaintiff seeks a declaratory judgment, pursuant to 28 U.S.C. §§ 2201-
2202, that Defendants have violated the Higher Education Act, 20 U.S.C. §§
1071-1099d, by inter alia failing to properly credit payments received from Plaintiff,
miscalculating interest on Plaintiff's account, refusing to provide Plaintiff with
complete and accurate information and documents concerning the Loan, and seeking
to collect from Plaintiff sums of money not owed by Plaintiff.

20. An actual controversy now exists between the parties in that the
defendants, and each of them, deny that they have made any computational or
accounting errors in their handling of Plaintiff's account, despite evidence to the
contrary.

21. Wherefore, a judicial declaration of the parties’ respective rights and/or

obligations is now appropiate.

SECOND CLAIM FOR RELIEF
(For Violations of the Fair Credit Reporting Act Against ED
and DOES 1 through 5, inclusive)
22. Plaintiff repeats and reincorporates by reference the paragraphs 1 through
20 above.
23. Plaintiff is a “consumer,” as defined by the Fair Credit Reporting Act
(“FCRA”) section 603, codified at 15 U.S.C. §1681a(c).
24. ED is a “person,” as defined by the FCRA section 603, codified at 15

 

 

 

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U.S.C. §1681a(b); and Experian, TransUnion, and Equifax are consumer reporting
agencies, as defined the FCRA section 603, codified at 15 U.S.C. §1681a(f).

25. ED and Does 1 through 5, inclusive, violated the FCRA by reporting
inaccurate and misleading information to the consumer reporting agencies, including
that Plaintiff had paid “$0" toward the Loan. The inaccurately reported derogatory
information suggested that Plaintiff was not creditworthy, and did not honor his own
financial obligations.

26. Plaintiff properly disputed — and requested verification of — the alleged
debt by written communication with major consumer reporting agencies.

27. ED failed to conduct a proper investigation of the Plaintiff's dispute, failed
to review information available to it, and failed to review all of the information
purportedly provided to it by the credit reporting agencies, in violation of 15 U.S.C.
§§1681s-2(b)(A) and 1681s-2(b)(B).

28. Despite knowing — or having reasonable cause to know — that Plaintiffs
claims were truthful, and that the alleged debt was invalid, ED verified the debt
repeatedly, including to consumer reporting agencies, in violation of 15 U.S.C.
§1681s-2(a).

29. Further, ED failed to note that the debt was disputed, despite being aware
of that fact, in violation of 15 U.S.C. §1681s-2(a)(3).

30. Plaintiff has suffered actual damages as a direct result of ED’s
misconduct, including — but not limited to — mental anguish and suffering,
inconvenience, humiliation, frustration, anger, loss of sleep, and anxiety. Further,
Plaintiff has been denied credit opportunities as a direct and proximate result of ED’s
erroneous derogatory credit reporting.

31. Under 15 U.S.C. §16810, ED is liable to Plaintiff for attorney’s fees, costs,
and actual damages. Further, since ED’s violations were willful, ED is liable for

statutory damages and punitive damages under 15 U.S.C. §1681n(a).

 

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THIRD CLAIM FOR RELIEF
(For Violations of the Consumer Credit Reporting Agencies Act Against ED and
DOES 1 through 5, inclusive)

32. Plaintiff repeats and reincorporates by reference the paragraphs 1 through
31 above.

33. All of the named Defendants violated the Consumer Credit Reporting
Agencies Act (““CCRAA”) — in particular, Civil Code section 1785.25, inter alia —
which states at subparagraph (A), “A person shall not furnish information on a
specific transaction or experience to any consumer credit reporting agency if the
person knows or should know the information is incomplete or inaccurate.”

34. All of the Defendants knew or should have known based upon Plaintiff's
disputes and/or the information and/or documents provided to them by the reporting
agencies — and by their own investigation — that the negative information they were
furnishing about Plaintiff was incomplete and/or inaccurate.

35. Plaintiff properly disputed — and requested reinvestigation of — the alleged
debt by written communication with major consumer reporting agencies — including
Experian.

36. Defendants, and each of them, failed to conduct a proper investigation of
Plaintiff's dispute, and failed to review all of the information provided to them both
by Plaintiff and by the credit reporting agencies.

37. Despite knowing — or having reasonable cause to know — that Plaintiff's
claims were truthful, and that the alleged debt was invalid, the Defendants repeatedly
and willfully verified the alleged debt.

38. Further, the Defendants failed to note that the debts they were furnishing
information about were disputed, despite being aware of that fact.

39. Plaintiff has suffered actual damages as a direct result of the Defendants’
willful misconduct, including — but not limited to — being denied credit solely

because of Defendants’ erroneous information, and mental distress including anguish

 

 

 

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and suffering, inconvenience, humiliation, frustration, anger, loss of sleep,
hopelessness and despair, harm to his personal relationships, indignity, stress, and
anxiety.

40. Under Civil Code section 1783.31, the Defendants are liable to Plaintiff

for attorney’s fees, costs, punitive damages, and actual damages.

WHEREFORE, Plaintiffs request that judgment be entered in her favor and
against the defendants as follows:

1. Punitive and/or exemplary damages, both under common law and 15 U.S.C.
section 1681n(a);

2. Actual damages under 15 U.S.C. §16810;

3. Costs and attorney's fees, under 15 U.S.C. §16810; and

4, Declaratory relief;

5. For actual damages, punitive damages, attorney’s fees and costs pursuant to
Civil Code section 1785.31;

6. Statutory damages, actual damages, costs and attorney’s fees, pursuant to
Civil Code section 1788.30; and

7. For such other and further relief as the Court deems just and proper.

PLEASE TAKE NOTICE that plaintiff YURI BUSIASHVILI requests a trial
by jury.

DATED: September 3, 2021 Respectfully submitted,

By:

 

Aidan W. Butler
Attorney for Plaintiff
YURI BUSIASHVILI

 

 

 

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